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To: Named Agency Defendants in Jenner & Block, LLP v. Department of Justice, No. 25-cv-916,
Dist. of Columbia District Court

From: Deputy Associate Attorney General Richard P. Lawson

Date: 3/31/25

Subject: Temporary Restraining Order / Notification Requirement




I am writing to inform you of an Order entered on Friday, March 28, 2025, by the federal District
Court for the District of Columbia which requires government agencies, as explained further
below, to cease implementation and, if necessary, rescind all guidance or other direction or
action, if any, to implement or enforce Sections 1, 3, and 5 of Executive Order 14246 of March
25, 2025, 90 Fed. Reg. 13997 (Mar. 28, 2025), entitled, “Addressing Risks from Jenner & Block
LLP.” The Order also requires the Government to certify compliance with the
requirements of the Order on Monday, March 31, 2025; thus, your immediate attention to
this matter is necessary. Copies of the court Order and EO 14246 are attached.


In EO 14246, the President undertook efforts to protect the interests of the United States. EO
14246 made certain findings regarding the activity of the law firm Jenner & Block, see EO
14246 § 1, and, among other things, required Government contracting agencies to “require
Government contractors to disclose any business that they do with Jenner [& Block LLP] and
whether that business is related to the subject of the Government contract,” id. § 3(a). The EO
also imposes certain requirements related to limiting access of employees of Jenner & Block to
Federal buildings and engaging with or hiring Jenner & Block employees, id. § 5. After a
hearing in a lawsuit brought by Jenner & Block, the Court entered a temporary restraining
order. Pursuant to that Order, defendants, including your agency, are:



   •   Enjoined from implementing or enforcing Sections 3 and 5 of the EO;

   •   Enjoined from using statements laid out in Section 1 of the EO in any interaction with
       Jenner & Block or its employees, as well as with Jenner & Block’s clients or the clients’
       employees;

   •   Directed to suspend and rescind any guidance or other direction provided to
       “communicate, effectuate, implement, or enforce” Sections 1, 3, and 5 of the EO, and
       issue guidance to officers, staff, employees, and contractors to disregard Sections 1, 3,
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       and 5 of the EO and “carry on with their ordinary course of business absent” those
       sections of the EO;

   •   Directed to cease making requests for disclosure of any relationship with Jenner & Block
       made pursuant to Section 3 of the EO;

   •   Directed to communicate to every recipient of a prior request for disclosure of any
       relationship with Jenner & Block made pursuant to Section 3 of the EO that such request
       is rescinded; and

   •   Directed to take any additional steps necessary to prevent implementation or enforcement
       of Sections 1, 3, and 5 of the EO.


Bottom line, implementation of Sections 1, 3, and 5 of the EO is prohibited and any prior steps
taken, or guidance or directions issued, to implement those sections of the EO must be walked
back or rescinded. To be clear, however, actions or activity the Department may be involved in
with respect to Jenner & Block or agency contractors that are not based or founded on reliance
on EO 14246 or on implementation of the EO are not affected by the Court’s Order.
Please take immediate steps to carry out the injunctions and directions of the Court Order.

As it remains the Executive Branch’s position that Executive Order 14246 was lawfully issued
and that the grant of the temporary restraining order was in error, the government will pursue a
fuller review of the Executive Order before the Court and reserves the right to take all necessary
and legal actions regarding “lawfare,” national security concerns, and discriminatory practices
involving Jenner & Block.

Do not hesitate to contact me at 202-445-8042 or via email at Richard.lawson3@usdoj.gov with
any questions regarding carrying out and complying with the Court Order. Your cooperation is
appreciated.
